

Curto v Town of Orchard Park (2018 NY Slip Op 00702)





Curto v Town of Orchard Park


2018 NY Slip Op 00702


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ.


160 CA 17-00711

[*1]PATRICIA J. CURTO, PLAINTIFF-APPELLANT,
vTOWN OF ORCHARD PARK, ORCHARD PARK POLICE DEPARTMENT, ORCHARD PARK POLICE OFFICER A. KOWALSKI, ORCHARD PARK POLICE OFFICER R. SIMMONS, ORCHARD PARK POLICE OFFICER J. CULLEN, REMY ORFFEO, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANTS. (APPEAL NO. 1.) 






PATRICIA J. CURTO, PLAINTIFF-APPELLANT PRO SE. 
BARCLAY DAMON, LLP, BUFFALO (JAMES DOMAGALSKI OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Erie County (James H. Dillon, J.), entered December 12, 2016. The order granted the motion of defendants-respondents to dismiss the amended complaint against them and denied as moot the motion of plaintiff for a default judgment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: February 2, 2018
Mark W. Bennett
Clerk of the Court








